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CERTIFICATE OF SERVICE

I, William D. Sullivan, certify that I am not less than 18 years of age and that I caused
service of the within Summary of the Verified Application of Richardson Patrick Westbrook &
Brickman, LLC for Compensation for Services and Reimbursement of Expenses as ZAI Lead
Special Counsel for the Interim Period from May 1, 2007 through May 31, 2007 to be made this
November 14, 2007 upon the parties identified on the attached service list, in the manner

indicated:

November 14, 2007 /s/ William D. Sullivan
Date William D. Sullivan

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